Case 5:24-cv-02058-KK-SP   Document 31-5 Filed 05/22/25   Page 1 of 27 Page ID
                                    #:338




                                                            EXHIBIT 4
Case 5:24-cv-02058-KK-SP   Document 31-5 Filed 05/22/25   Page 2 of 27 Page ID
                                    #:339




                                        Enterprise Legal
                                        Management
                                        Trends Report




                                        7
                                         INSIGHT INTO

                                                     KEY
                                                     METRICS
                                                          JUNE 2022
    Case 5:24-cv-02058-KK-SP            Document 31-5 Filed 05/22/25     Page 3 of 27 Page ID
                                                 #:340




         Enterprise Legal Management Trends Report
         INSIGHTS ARE BASED ON DATA DERIVED FROM



                                              OVER           MORE THAN
                             $49 Billion                     350,000
          IN LEGAL SPENDING                                  TIMEKEEPERS
                                                             MORE THAN
                                                             1.2 Million
                                                             MATTERS




2   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    Case 5:24-cv-02058-KK-SP            Document 31-5 Filed 05/22/25             Page 4 of 27 Page ID
                                                 #:341




    Executive                                     Insights are based on data derived from over
                                                  $49 billion in legal spending, more than 350,000

    Highlights                                    timekeepers, and more than 1.2 million matters.
                                                  The key metrics are based on 2021 charges billed
                                                  by outside counsel.




                2021 RECORD SETTING YEAR FOR MERGERS & ACQUISITIONS
                LexisNexis® CounselLink® data aligns with reports of 2021 being a record setting
                year for global mergers and acquisitions. Mergers & Acquisitions (M&A) related
                legal fees processed through CounselLink in 2021 represented 7.4% of total legal
                billing, a significant increase from 4.3% in 2020. The data also reflects that greater
                demand for M&A legal expertise resulted in material price increases. The median
                partner rate billed for M&A work in 2021 was $878, a 6.1% increase over the prior
                year median.


                HOURLY RATE INCREASES SHOW NO SIGNS OF SLOWING
                Consistent with what we observed in 2020, despite pandemic-related and other
                pressures for legal departments to reduce outside counsel spending, hourly rate
                increases paid to US firms showed no signs of slowing. On average, 2021 partner
                hourly rates increased by 3.4% relative to 2020. This compares to 3.5% growth in
                2020 versus 2019.


                USE OF ALTERNATIVE FEE ARRANGEMENT CONTINUES TO INCREASE
                In 2021, 14.8% of matters had at least a portion of their billing under an
                arrangement other than hourly billing. Non-hourly fees billed accounted 9.6% of
                all billings. Use of alternative fee arrangements (AFAs) has been slowly rising over
                the years, showing an increased appetite by corporate counsel for AFAs, and a
                willingness by law firms to provide them.


                THE “LARGEST 50” FIRMS ACCOUNT FOR LARGEST SHARE OF SPENDING
                The “Largest 50” firms (those with more than 750 lawyers) continue to account for
                the largest share of U.S. legal spending. In 2021, 46% of outside counsel fees were
                paid to these firms, consistent with recent year results. Further, the largest firms
                are continuing to gain share of wallet for the highest rate work. The three practices
                commanding the highest partner rates are Mergers & Acquisitions; Finance,
                Loans & Investments; and Regulatory & Compliance. Combining these types of
                matters, the “Largest 50” firms had a 61% share of legal billings in 2021. Several
                sub-categories of other matter categories with high partner rates follow the same
                pattern. For example, those firms had a 77% share of IP Litigation and a 78% share
                of Corporate Antitrust work.



3   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    Case 5:24-cv-02058-KK-SP             Document 31-5 Filed 05/22/25                Page 5 of 27 Page ID
                                                  #:342


        Introduction
         The first edition of the annual CounselLink Enterprise Legal Management Trends Report was
         published in October 2013. That report established a set of six key metrics based on data available
         via the CounselLink Enterprise Legal Management platform and provided insights that corporate law
         departments and law firms could use to guide their decisions and subsequent actions. Beginning with
         the 2021 edition, a seventh key metric has been added to highlight hourly rates billed by law firm
         partners located in countries outside of the United Sates.
         With the volume of data available for analysis growing with each passing year, the 2022 edition of the
         Trends Report represents the most up-to-date and detailed picture of how legal market dynamics are
         evolving over time.
         As always, information about the methodologies used, definitions, and expert contributors conducting
         the analysis are presented at the end of the report.




              TABLE OF CONTENTS

               5 The Seven Key Metrics

               6 #1A: Blended Hourly Rate for Matters by Practice Area

               7 #1B: Blended Hourly Rate for Matters – by Subcategory

              11 #2: Law Firm Consolidation:
                      Number of Legal Vendors Used by Corporations
              12 #3A: Alternative Fee Arrangement (AFA) Usage by Matter

              13 #3B: Alternative Fee Arrangement (AFA) Usage by Billings

              14 #4: Partner Hourly Rate Differences by Law Firm Size

              15 #5A: Partner Hourly Rate Growth by City

              16 #5B: Partner Hourly Rate Growth by State

              17 #6A: Median Partner Hourly Rate by Practice Area

              18 #6B: Median Partner Rates by Subcategory of Work

              20 #6C: Partner Hourly Rate Growth by Practice Area

              21 #7A: International Partner Rates for Litigation and IP

              22 #7B: International Partner Rates for Employment and Corporate

              23 About the Trends Report

              24 Expert Contributor




4   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    Case 5:24-cv-02058-KK-SP            Document 31-5 Filed 05/22/25             Page 6 of 27 Page ID
                                                 #:343




       Update                                     Each annual update of the CounselLink Enterprise
                                                  Legal Management Trends Report covers a standard

       on seven
                                                  set of key metrics related to hourly legal rates and the
                                                  corporate procurement of legal services.


       key metrics

5   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    1A
      Case 5:24-cv-02058-KK-SP                                 Document 31-5 Filed 05/22/25                                                           Page 7 of 27 Page ID
                                                                        #:344
                      Blended Hourly Rate for Matters by Practice Area
                      BLENDED HOURLY RATES AND RATE VOLATILITY DIFFER BY TYPE OF WORK
                      All analysis is based on data through December 31, 2021
KEY                   Practice areas ordered by median blended matter rates

METRIC
                                                                                            Blended matter hourly rate metrics                                 Timekeeper rate metrics
                                                                                                       10 – 90 Percentile Range
                                                                                                             th           th
                                                                                                                                                                          Partner – Median
             $1,200
                                                                                                       Median                                                             Associate – Median
                                                                                                       25 – 75 Percentile Range
                                                                                                             th           th
                                                                                                                                                                          Paralegal – Median
             $1,100


             $1,000


              $900


              $800


              $700


              $600


              $500


              $400


              $300


              $200


              $100


                  0
                                                                                                                                  Property




                                                                                                                                                              and Labor
                         Mergers and



                                        Regulatory and
                                           Compliance

                                                          Finance, Loans,
                                                         and Investments


                                                                            Environmental


                                                                                               Commercial
                                                                                             and Contracts




                                                                                                                                              Real Estate


                                                                                                                                                            Employment



                                                                                                                                                                           Insurance



                                                                                                                                                                                       Litigation
                         Acquisitions




                                                                                                                               Intellectual
                                                                                                                  Corporate




    Volatility 5            7        7        3        6      10        5         4      5       3        5

        Rate Volatility is a calculated indicator of blended rate variability. Higher numbers suggest better
                       possibilities for negotiating rates and/or changing the assigned timekeeper mix.



                       See page 9 for guidance on interpreting all blended hourly rates charts.


6     2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    1B
       Case 5:24-cv-02058-KK-SP                       Document 31-5 Filed 05/22/25                                  Page 8 of 27 Page ID
                                                               #:345
                      Blended Hourly Rate for Matters – by Subcategory
                      BLENDED HOURLY RATES AND RATE VOLATILITY DIFFER BY SUBCATEGORY OF WORK
                      All analysis is based on data through December 31, 2021
KEY                   Practice areas ordered by median blended matter rates

METRIC
                               CORPORATE                         EMPLOYMENT                                                       INSURANCE
                                                                  AND LABOR
           $1,200


           $1,100


           $1,000


             $900


             $800


             $700


             $600


             $500


             $400


             $300


             $200


             $100


                0
                                         Bankruptcy




                                                                                                                          Property




                                                                                                                                                     Bodily Injury
                                                                                                                                          Workers’
                                   Tax




                                                                 Compensation
                                                                  and Benefits


                                                                                     Immigration


                                                                                                   Discrimination




                                                                                                                          Damage



                                                                                                                                      Compensation
                       Antitrust




    Volatility Rate       6        8       3                      10                 4                4                       3           3             2



                                                                                 Blended matter hourly rate metrics           Timekeeper rate metrics
                                                                                          10th – 90th Percentile Range               Partner – Median
                                                                                          Median                                     Associate – Median
                                                                                          25th – 75th Percentile Range               Paralegal – Median


7     2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    1B
       Case 5:24-cv-02058-KK-SP              Document 31-5 Filed 05/22/25                                        Page 9 of 27 Page ID
                                                      #:346
                      Blended Hourly Rate for Matters – by Subcategory
                      BLENDED HOURLY RATES AND RATE VOLATILITY DIFFER BY SUBCATEGORY OF WORK
                      All analysis is based on data through December 31, 2021
KEY                   Practice areas ordered by median blended matter rates

METRIC
                        INTELLECTUAL                                                                     LITIGATION
                          PROPERTY
           $1,200


           $1,100


           $1,000


             $900


             $800


             $700


             $600


             $500


             $400


             $300


             $200


             $100


                0
                                                           Property




                                                                                                                     Liability



                                                                                                                                     Injury
                                                                                                         Breach of
                        Patent



                                 Trademark




                                                                                                                                  Personal



                                                                                                                                                Asbestos
                                                        Intellectual



                                                                        Employment



                                                                                          Class Action



                                                                                                          Contract


                                                                                                                     Product




    Volatility Rate      5          5                      10              4                 3               3          5             5            3



                                                                       Blended matter hourly rate metrics                        Timekeeper rate metrics
                                                                                     10th – 90th Percentile Range                         Partner – Median
                                                                                     Median                                               Associate – Median
                                                                                     25th – 75th Percentile Range                         Paralegal – Median


8     2022 CounselLink Enterprise Legal Management | TRENDS REPORT
    Case 5:24-cv-02058-KK-SP               Document 31-5 Filed 05/22/25                    Page 10 of 27 Page ID
                                                     #:347




      Interpreting the Charts:
      The charts on the previous pages capture matter level benchmarks. It’s important to distinguish that Metric
      1 is not benchmarking individual timekeeper rates, but rather the blended rates that result from the multiple
      timekeepers that work on a given matter. As a guide to interpreting the output, compare the two categories
      Corporate and Employment & Labor. These two categories have very similar median blended average matter
      rate ($376 and $366, respectively). But note that Corporate matters have a median partner rate of $636,
      considerably higher than that of Employment & Labor ($520). This indicates that relative to Corporate work,
      Employment & Labor matters are staffed more significantly with non-partners, whose hourly rates bring down
      the overall blended average matter rates.
      The Volatility Index provided in this section is a calculated marker that shows the variability in blended matter
      rates. Using a 10-point scale, the Index highlights the broad spread between the 25th and 75th percentiles of
      hourly rates. High volatility scores indicate greater variance in prices paid based on the mix of timekeepers and
      individual hourly rates.




      Although individual lawyer rates are the focus of considerable industry attention, it is equally, or
      arguably more important, to look at the bigger picture: the blended average rate of the different
      timekeepers that work on a matter. The chart shows that the median blended hourly rate is highest
      for Mergers and Acquisitions, which often involve the most expensive firms and require significant
      partner engagement.
      Comparing the Corporate category to Insurance as an example, the spread between the 25th and
      75th percentiles of blended hourly rates for Corporate work is broader than the spread for Insurance.
      On a 10-point scale, Corporate has a Volatility Index of 10 while Insurance has an Index of three, which
      indicates that the mix of timekeepers and rates paid on Corporate matters vary significantly compared to
      the timekeeper mix and rates paid for Insurance matters. A high Volatility Index could also indicate that a
      category represents a wide range of matter types.
      The 2020 data revealed that three matter categories have relatively low Volatility Indices (lower than 5),
      which means rates are consistent and less subject to negotiations between corporations and their firms:
        • Insurance
        • Real Estate
        • Environmental

      The two matter categories with the greatest change relative to the prior year are Mergers & Acquisitions
      and Commercial & Contracts. The median blended average matter rate for these categories increased
      7% relative to 2020.
      Legal departments can compare their own data against these rates and ranges for help managing costs.
      If departments are paying at or near the top of the range for more volatile matter types, there may be
      opportunities to negotiate lower rates or request a different mix of timekeepers to reduce costs. Note,
      however, that when looking at trends, it is important to evaluate the entire range of rates rather than
      focusing solely on the median rate.




9   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     Case 5:24-cv-02058-KK-SP             Document 31-5 Filed 05/22/25                 Page 11 of 27 Page ID
                                                    #:348




       Key Metric 1B: Blended Hourly Rates and Rate Volatility Differ by Legal Work Subcategories
       Key Metric #1 measures average billing rates for high-level categories of legal work. Beginning in 2021,
       the Trends Report expanded upon this to include benchmarks for more granular categories of work to
       continue to provide more meaningful data points for decision-making in the legal industry.
       Note that several of the sub-categories have Volatility Indices that are lower than that of their parent
       categories. For example, refer to the Corporate practice area in Key Metric #1 which had a Volatility Index
       of 10.
       The three sub-categories of Corporate reflected in Key Metric #1B include Antitrust, Bankruptcy, and
       Tax. These areas have volatility scores of 6, 3, and 8 respectively. This can be interpreted to mean that
       as we narrow down to more granular/similar types of work, there is less variability between the 25th and
       75th percentile blended average rates paid for these specific types of legal work relative to the broader
       category of Corporate. For example, there is greater consistency in the staffing and/or negotiated rates
       for these types of work, particularly for Antitrust and Bankruptcy.




10   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
                              2
                           Case 5:24-cv-02058-KK-SP              Document 31-5 Filed 05/22/25                  Page 12 of 27 Page ID
                                                                           #:349
                                           Law Firm Consolidation:
                                           Number of Legal Vendors Used by Corporations
KEY                                        HALF OF COMPANIES IN THE COUNSELLINK DATA POOL HAVE 10 FIRMS
                                           OR FEWER THAT ACCOUNT FOR AT LEAST 80% OF THEIR OUTSIDE COUNSEL FEES
METRIC                                     All analysis is based on data through December 31, 2021


                            40%

                            35%
                                                                                                                                 35%
                            30%

                                                                                                                     24%
 Percentage of Companies




                            25%

                            20%

                            15%

                            10%

                             5%

                              0

                                    <20%      20 – 30%    30 – 40%    40 – 50%    50 – 60%   60 – 70%    70 – 80%     80 – 90%   90 – 100%

                                                                          Degree of consolidation




                             Interpreting the Chart:
                             This chart shows the degree of law firm consolidation among companies whose outside counsel legal billings
                             are processed through CounselLink. The horizontal axis separates participating companies into nine segments
                             representing different degrees of consolidation. For example, the bar on the far right shows that 35% of
                             participating companies have 90 – 100% of their legal billings with 10 or fewer vendors; these are the most
                             consolidated legal departments. The far left bar shows that just 1% of companies have 20 – 30% of their legal
                             billings with 10 or fewer firms. In 2020, we noted a subtle shift of law departments that had dropped from
                             between 80-90% on the chart to the 70-80% bucket. That shift has reversed itself, and we see 59% of
                             companies with high levels of law firm consolidation, consistent with consolidation levels noted in the last
                             five years (excepting 2020).
                             Industry type plays a significant role in consolidation.

                               HIGH DEGREES OF CONSOLIDATION:                                       LOW DEGREES OF CONSOLIDATION:


                                  88% Transportation and Warehousing                                40% Finance
                                  83% Information Companies                                                   Insurance

                                  78% Retail Trade                                                  36% Utilities
                                  74% Manufacturing
11                         2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     3A
     Case 5:24-cv-02058-KK-SP                                    Document 31-5 Filed 05/22/25                                        Page 13 of 27 Page ID
                                                                           #:350
                             Alternative Fee Arrangement (AFA) Usage by Matter
                             SOME FORM OF AFAs WERE USED IN 14.8% OF MATTERS

KEY                          Based on 12 months of data ending December 31, 2021

METRIC
                             PERCENTAGE OF MATTERS UTILIZING AFAs

     30%



     25%



     20%
                                                                                                                                     14.8%
                                                                                                                                     AVERAGE
     15%



     10%



      5%



       0
                                                                                                            Property
                                           and Labor
             Commercial




                                                                                                                                      Mergers and
           and Contracts



                             Corporate




                                                       Environmental
                                         Employment




                                                                        Finance, Loans
                                                                       and Investments



                                                                                             Insurance




                                                                                                                        Litigation




                                                                                                                                      Acquisitions



                                                                                                                                                     Real Estate



                                                                                                                                                                   Regulatory and
                                                                                                                                                                      Compliance
                                                                                                         Intellectual




                                                                                         Practice Area




     The use of AFAs to govern legal service payments varies considerably by legal matter type. High volume,
     predictable work included in Intellectual Property, Insurance, and the Employment and Labor categories
     continue to have the highest volume of matters billed under AFAs.



            INTELLECTUAL PROPERTY | INSURANCE | EMPLOYMENT & LABOR

                           utilized AFAs for at least 20% of matters

     Other matter categories are gaining in use of alternative billing. Mergers and Acquisitions, Real Estate, and
     Regulatory and Compliance have nearly 10% of matters with non-hourly billing.




12   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     3B
     Case 5:24-cv-02058-KK-SP                                  Document 31-5 Filed 05/22/25                                         Page 14 of 27 Page ID
                                                                         #:351
                           Alternative Fee Arrangement (AFA) Usage by Billings
                           SOME FORM OF AFAs WERE USED IN 9.6% OF BILLINGS

KEY                        Based on 12 months of data ending December 31, 2021

METRIC
                           PERCENTAGE OF BILLINGS UTILIZING AFAs

     30%



     25%



     20%



     15%
                                                                                                                      9.6%
                                                                                                                      AVERAGE
     10%



      5%



       0
                                                                                                          Property
                                         and Labor
             Commercial




                                                     Environmental




                                                                                                                                     Mergers and
           and Contracts



                           Corporate



                                       Employment




                                                                      Finance, Loans
                                                                     and Investments



                                                                                           Insurance




                                                                                                                       Litigation




                                                                                                                                     Acquisitions



                                                                                                                                                    Real Estate



                                                                                                                                                                  Regulatory and
                                                                                                                                                                     Compliance
                                                                                                       Intellectual




                                                                                       Practice Area




     The use of Alternative Fee Arrangements has been gradually increasing as the industry slowly moves
     in the direction of not relying solely on hourly billing as the mechanism for payment of legal services.
     When CounselLink first started reporting on these key metric ten years ago, AFAs were used in approximately
     12% of matters and 7% of fees and billings.




13   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
            4
      Case 5:24-cv-02058-KK-SP                         Document 31-5 Filed 05/22/25                                     Page 15 of 27 Page ID
                                                                 #:352
                         Partner Hourly Rate Differences by Law Firm Size
                         MEDIAN RATES ACROSS PRACTICE AREAS, EXCLUDING INSURANCE

KEY                      Based on 12 months of data ending December 31, 2021

METRIC
                         MEDIAN PARTNER HOURLY RATES BY LAW FIRM SIZE


     $900


                                                                                                                                    54%




                                                                                                                                                   $895
     $800
                                                                                                                                    DIFFERENTIAL

     $700

     $600

                                                                                                         15%




                                                                                                                        $580
     $500

                                                                              25%
                                                                                                         DIFFERENTIAL




                                                                                             $506
     $400

                         33%                        1%                        DIFFERENTIAL
                                                                  $405
                                        $400




     $300                                          DIFFERENTIAL
                         DIFFERENTIAL
                $300




     $200

     $100

        0
                0 – 50




                                        51 – 100




                                                                  101 – 200




                                                                                             201 – 500




                                                                                                                        501 – 750




                                                                                                                                                   750+
                                                          Law Firm Size [Number of Lawyers]




     The size of a law firm is highly correlated to the rates billed by its lawyers. This progression is especially notable
     for the largest category of firms, those with 750 or more lawyers. The median hourly billing rate for partners in
     firms with more than 750 lawyers ($895) is 54% higher than the median hourly billing rate billed by partners in
     the next smaller tier of firms ($575).
     Relative to prior years, the 54% differential for the largest firms compared to the next tier of firms is the largest
     in all the years we have tracked this metric. The differential was 47% for 2020.
     Additionally, relative to prior years, the gap between mid-sized firm rates has narrowed. The median partner
     rate for firms with 51-100 lawyers ($400) is nearly the same as that for firms with 101-200 lawyers ($405).
     The average partner growth rate for the largest firms was 4.6% in 2021 relative to 2020—the largest increase
     of the various law firm bands.



                                                                                  4.6%
            AVERAGE PARTNER GROWTH RATE
                    FOR THE LARGEST FIRMS                                                                    2021 RELATIVE TO 2020

14    2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     5A
      Case 5:24-cv-02058-KK-SP                                                       Document 31-5 Filed 05/22/25                                               Page 16 of 27 Page ID
                                                                                               #:353
                                           Partner Hourly Rate Growth by City
                                           FOUR MAJOR METROPOLITAN AREAS SHOW MEDIAN PARTNER
                                           RATE GROWTH OF MORE THAN 4.0%
KEY                                        Based on 12 months of data ending December 31, 2021
METRIC

                                           PARTNER RATE GROWTH IN THREE MAJOR CITIES




                                            MEDIAN PARTNER RATE

                                            ABOVE $800/HOUR
                                                                 BOSTON | NEW YORK
                                                                 | WASHINGTON, D.C. |
                                                                                                                                                                                    NEW YORK

                                                                                                                                                                                         4.3%




                                                                                                                                                                                   YoY
            SAN FRANCISCO                                                                                            WASHINGTON D.C.
                            4.0%                                                                                                            5.0%
                   YoY




                                                                                                                                      YoY




     4%
                                                                                                                                                                                                      YOY Change

     3%

     2%
                                                                   Los Angeles, CA




                                                                                                                   Philadelphia, PA
            Cleveland, OH




                                                Pittsburgh, PA




                                                                                                                                                                                                          Houston, TX
                                                                                                                                                                                         Boston, MA
                                                                                       Seattle, WA



                                                                                                     Atlanta, GA
                             Chicago, IL




                                                                                                                                            Detroit, MI



                                                                                                                                                          Dallas, TX




     1%
                                                                                                                                                                       Miami, FL




      0




           Interpreting the Chart:
           Across the United States, partner hourly rates grew 3.4% on average in 2021.
           The biggest growth spurts in attorney rates for the last year occurred in Washington D.C., New York, and
           San Francisco. Each of these four cities saw average attorney rates grow more than 4.0% relative to 2020.
           On the opposite side of the spectrum, two cities saw hourly growth rate below 2%: Boston and Houston.



15        2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     5B
     Case 5:24-cv-02058-KK-SP                Document 31-5 Filed 05/22/25                    Page 17 of 27 Page ID
                                                       #:354
                     Partner Hourly Rate Growth by State
                     GROWTH IN MEDIAN PARTNER RATES VARIES BY STATE,
                     AVERAGING 3.4% YEAR-OVER-YEAR INCREASE
KEY                  Based on 12 months data ending December 31, 2021
METRIC

                                       4.6%                      4.2%
                                    $349 median              $475 median
                                     Nebraska                 Wisconsin                                4.5%
                                                                                               $1,030 median
                                                                                                 New York




                         4.7%
                      $532 median
                         Texas


                                                                         YOY GROWTH RATE

                                                                         > 3.0%
                                                                         2.1% to 3.0%
                                                                         1.1% to 2.0%
                                                                                                          LOW BILLING
                                                                         < 1.0%                           VOLUME




       3.4% AVERAGE GROWTH IN PARTNER RATES ACROSS STATES
       The average growth in partner rates across states is 3.4%, in line with prior year increases.




16   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
                                                          IP-Patent
                                           Document 31-5 Employment  and Labor Page 18 of 27 Page ID



     6A
     Case 5:24-cv-02058-KK-SP                                Filed 05/22/25
                                                     #:355
                     Median Partner Hourly Rate by Practice Area
                                       TM             IP-Trademark
                                                     Environmental
                     MEDIAN PARTNER RATES IN FIVE PRACTICE AREAS ABOVE $600 AN HOUR

KEY                  Based on 12 months of data ending December 31, 2021

METRIC                                                         Litigation-General
                                                               Finance,  Loans
                                                                Commercial
                                                               and  Investments
                                                                and Contracts

                                                               Mergers
                                                               and Acquisitions
                                                                $668
                                                               Insurance
                                                                 Corporate, General, Tax
                    Mergers and Acquisitions




                     $878
                                                                   Commercial and Contracts
                                                               Real Estate and Labor
                                                               IP-Patent
                                                                 Employment
                                                                $636
                                                                   Corporate
                                              TM               Regulatory
                                                               IP-Trademark
                                                                 Environmental
                                                               and Compliance
                                                                $575
                                                                   Intellectual Property
                                                               Litigation-General
                                                                Finance, Loans
                                                                and Investments
             Finance, Loans, and Investments
                                                                $520

                     $725
                                                               Mergers
                                                                  Employment and Labor
                                                               and Acquisitions
                                                                Insurance

                                                                $495
                                                                  Environmental
                                                               Real Estate
                                                                IP-Patent

                                                                $477
                                                               Regulatory
                                                                  Real Estate
                                                                IP-Trademark
                                         TM                    and Compliance
                  Regulatory and Compliance
                                                                $350
                     $690
                                                                Litigation-General
                                                                   Litigation


                                                                $234
                                                                Mergers
                                                                 and Acquisitions
                                                                   Insurance



                                                                 Real Estate


      Aggregate statistics based on legal work performed in 2021 identify Mergers and Acquisition as the practice
                                                                  Regulatory
      area with the highest median partner rate of $878. Additionally, the other practices with median partner rates
                                                                  and Compliance
      over $600 per hour have such high medians in large part because companies often use larger firms for these
      kinds of matters. In 2021, the “Largest 50” firms handled 66% of Merger and Acquisition work, and 62% of
      Finance, Loans & Investment work. With regard to the other high rate practices of Regulatory and Compliance,
      Commercial and Contracts, and Corporate, the “Largest 50” firms had a 47%, 52%, and 53% share of
      the wallet.
      Conversely, at the lower end of the hourly rate spectrum is insurance work. Insurance carriers demand
      and negotiate aggressively for low rates on their high-volume defense matters. Law firms with fewer than
      100 lawyers handled 69% of insurance work in 2021.



17   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     6B
     Case 5:24-cv-02058-KK-SP                      Document 31-5 Filed 05/22/25                            Page 19 of 27 Page ID
                                                             #:356
                         Median Partner Rates by Subcategory of Work
                         WITHIN PRACTICE AREAS, SUBCATEGORY RATES VARY CONSIDERABLY

KEY                      Based on 12 months of data ending December 31, 2021

METRIC
                          CORPORATE                         EMPLOYMENT                                                      INSURANCE
                                                             AND LABOR

        $1,000
                    $948




         $900


         $800
                                            $774




         $700


         $600
                                                             $608




         $500
                                                                                             $495
         $400
                                                                            $435
                               $372




         $300


         $200



                                                                                                                                  $205
                                                                                                                $189




                                                                                                                                            $160
         $100
                               Bankruptcy




                                                                                                                Bodily Injury


                                                                                                                                Property



                                                                                                                                               Workers’
             0
                                            Tax




                                                            Compensation
                                                             and Benefits


                                                                            Discrimination


                                                                                             Immigration




                                                                                                                                Damage



                                                                                                                                           Compensation
                  Antitrust




18   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     6B
     Case 5:24-cv-02058-KK-SP              Document 31-5 Filed 05/22/25                                  Page 20 of 27 Page ID
                                                     #:357
                    Median Partner Rates by Subcategory of Work
                    WITHIN PRACTICE AREAS, SUBCATEGORY RATES VARY CONSIDERABLY

KEY                 Based on 12 months of data ending December 31, 2021

METRIC
                         INTELLECTUAL                                                       LITIGATION
                           PROPERTY

        $1,000


          $900




                                                                                                             $895
          $800


          $700


          $600
                      $580


                               $545




          $500
                                                                             $485


                                                                                            $441
          $400
                                                                   $406




          $300




                                                                                                                                        $328
                                                                                                                            $240
                                                         $235




          $200


          $100


             0
                                                                                                              Property



                                                                                                                             Injury



                                                                                                                                      Liability
                                                                 Breach of
                     Patent



                               Trademark




                                                      Asbestos




                                                                                                                          Personal
                                                                  Contract


                                                                             Class Action



                                                                                            Employment




                                                                                                                                      Product
                                                                                                           Intellectual




      New since the 2021 Trends Report, benchmarks are available for more granular categories of legal work.
      Litigation work, for example, encompasses a wide variety of practices that command very different rates.
      At the high end, Intellectual Property Litigation had a median partner hourly rate of $895 in 2020, whereas
      Asbestos Litigation work was billed at a median partner hourly rate of $235.




19   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     6C
     Case 5:24-cv-02058-KK-SP                 Document 31-5 Filed 05/22/25               Page 21 of 27 Page ID
                                                        #:358
                      Partner Hourly Rate Growth by Practice Area
                      FOUR PRACTICE AREAS LEAD PARTNER RATE GROWTH IN 2021

KEY                   Based on 12 months of data ending December 31, 2021

METRIC

           Mergers and Acquisitions                                                                          6.1%

             Employment and Labor                                                3.7%          LARGEST AVERAGE
                                                                                               RATE INCREASES
     Finance, Loans, and Investments                                          3.6%             IN 2021
                                                                                               RELATIVE TO 2020
                          Corporate                                          3.5%

                Intellectual Property                                   3.2%

         Regulatory and Compliance                                      3.2%

          Commercial and Contracts                                   2.9%

                         Real Estate                                2.7%

                 Litigation - General                         2.4%

                      Environmental                       2.1%

                          Insurance                1.5%

                                        0          1%          2%           3%           4%           5%           6%

                                            YOY Change




        Turning to partner rate growth by practice area, Mergers and Acquisitions was the area that far and
        away saw the largest increases in rates in 2021. The average rate change for Mergers and Acquisitions
        partners was 6.1%. Note that three of the types of work that command median hourly rates above
        $600 (see Metric 6A) are at or near the top of this list. They are: Mergers and Acquisitions, Finance, Loans,
        and Investments, and Corporate.
        Partner rates for Insurance work increased notably less than rates in other practice areas.




20   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     7A
      Case 5:24-cv-02058-KK-SP               Document 31-5 Filed 05/22/25                  Page 22 of 27 Page ID
                                                       #:359
                      International Partner Rates for Litigation and
                      Intellectual Property (non-Litigation)
KEY                   CORPORATIONS HIRED INTERNATIONAL OUTSIDE
                      COUNSEL FOR BOTH LITIGATION AND IP WORK
METRIC                Based on 12 months data ending December 31, 2021
                                                                                            EXPANDED FOR 2021

                      MEDIAN PARTNER HOURLY RATES IN 13 INTERNATIONAL MARKETS
                      RATES IN $USD


        $521                             $736            $687              $547
        $472                             $550            $671              $421
        CANADA                           UNITED          NETHERLANDS       GERMANY
                                         KINGDOM




                                        $576
                                        $434
                                        IRELAND



                                    $634                                                                           $780
                                    $368                                                                           $655
                                    FRANCE
                                                                                                                   REPUBLIC

     $440                                                                       $400                               OF KOREA


     $331                                       $517                            $224 $480
                                                                                INDIA
     MEXICO
                                                $349                                  $333
                                                SWITZERLAND                                CHINA



                                       $288
                                       $400
                                       BRAZIL                                                          $597
                                                                                                       $586
                                                                                                       AUSTRALIA
                                                  LITIGATION RATE IP RATE




        Corporations headquartered outside of the United States as well as U.S. corporations with international
        interests look to firms in many countries to handle their legal needs. Key Metric 7 provides benchmarks
        of partner hourly rates for countries where outside counsel is most often engaged for Litigation,
        Intellectual Property, Employment and Labor, and Corporate work.
        In 2021, median hourly partner rates were among the highest in the Republic of Korea across all
        four practice areas. (See page 22 for Employment and Labor, and Corporate work.)
        UK partner rates are relatively high particularly in Litigation and Corporate work.
        In all matter categories, India and Brazil had partners billing at considerably lower rates.




21    2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     7B
      Case 5:24-cv-02058-KK-SP             Document 31-5 Filed 05/22/25        Page 23 of 27 Page ID
                                                     #:360
                     International Partner Rates for
                     Employment and Labor and Corporate
KEY                  CORPORATIONS HIRED INTERNATIONAL OUTSIDE
                     COUNSEL FOR BOTH EMPLOYMENT & LABOR AND
METRIC               CORPORATE WORK

                     Based on 12 months data ending December 31, 2021
                                                                               EXPANDED FOR 2021


                     MEDIAN PARTNER HOURLY RATES IN 13 INTERNATIONAL MARKETS
                     RATES IN $USD


        $467                          $625            $570           $425
        $634                          $782            $606           $470
        CANADA                        UNITED          NETHERLANDS    GERMANY
                                      KINGDOM




                                     $586
                                     $681
                                     IRELAND



                                  $520                                                             $770
                                  $531                                                             $780
                                  FRANCE
                                                                                                   REPUBLIC

     $450                                                                $420                      OF KOREA


     $420                                    $599                        $350 $700
                                                                         INDIA
     MEXICO
                                             $665                              $460
                                             SWITZERLAND                       CHINA



                                    $310
                                    $302
                                    BRAZIL                                             $580
                                                                                       $626
                                                                                       AUSTRALIA


                                     EMPLOYMENT & LABOR CORPORATE




22    2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     Case 5:24-cv-02058-KK-SP           Document 31-5 Filed 05/22/25                Page 24 of 27 Page ID
                                                  #:361



        About the Enterprise Legal
        Management Trends Report

                                                     TERMINOLOGY:

                                                     Matter Categorization: CounselLink solution users
                                                     define the types of work associated with various
                                                     matters that were analyzed and categorized into
                                                     legal practice areas. For this analysis, all types of
                                                     litigation matters are classified as Litigation
                                                     regardless of the nature of the dispute.


                                                     Company Size: Based on revenue cited in public
                                                     sources, companies were grouped into these three
                                                     size categories:
                                                        > $10 Billion Plus
                                                        > $1 – 10 Billion
                                                        > < $1 Billion




23   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     Case 5:24-cv-02058-KK-SP            Document 31-5 Filed 05/22/25                  Page 25 of 27 Page ID
                                                   #:362




     Expert
     Contributor


                 Since the inception of the CounselLink Enterprise Legal Management Trends Report,
                 Kris Satkunas has been the principal author. She has made notable contributions to this
                 latest Enterprise Legal Management Trends Report in the analysis of CounselLink data and
                 in preparing the surrounding narrative.



                 Author
                 KRIS SATKUNAS — DIRECTOR OF STRATEGIC CONSULTING

                 As Director of Strategic Consulting at LexisNexis CounselLink, Kris brings over 20 years
                 of experience consulting in the legal industry to advise corporate legal department
                 managers on improving operations with data-driven decisions. Kris is an expert in managing
                 the business of law and in data mining, with specific expertise in matter pricing and staffing,
                 practice area metrics, and scorecards.
                 Prior to joining CounselLink, Kris served as Director of the LexisNexis® Redwood Think
                 Tank, which she also established. For five years, Kris worked closely with thought leaders
                 in large law firms conducting unbiased data-based research studies focused on finding solu-
                 tions to legal industry management issues. Before that, she led the business of law consult-
                 ing practice for large law firms. During that time she worked with key management at over
                 a hundred law firms to improve the financial models and analyses developed for large
                 law firms.
                 Kris has authored numerous articles and spoken at many legal industry conferences and
                 events. She came to LexisNexis in 2000 after honing her finance skills as a Senior Vice
                 President in Strategic Finance at SunTrust Bank. She holds a B.B.A. in Finance from
                 The College of William and Mary.
                 Kris may be reached at kristina.satkunas@lexisnexis.com.




24   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
     Case 5:24-cv-02058-KK-SP                                                     Document 31-5 Filed 05/22/25   Page 26 of 27 Page ID
                                                                                            #:363




                 LexisNexis CounselLink is the leading cloud-based legal management solution
                 designed to help corporate legal departments gain 100% visibility into all matters and
                 invoices so they can control costs, maximize productivity, and make better decisions.
                 For nearly 30 years, LexisNexis has been providing innovative solutions to corporate
                 law departments based on insight from thought leaders, industry expertise, and
                 customer feedback.
                 Here’s how CounselLink supports your legal department:
                                  • Financial Management improves the predictability of legal spend with complete
                                    visibility and oversight of every penny spent by the department.
                                  • Work Management helps you collect, organize, track, audit, and report on all the
                                    work done within the legal department to increase productivity and drive better
                                    outcomes for your business.
                                  • Vendor Management strengthens your relationships with law ﬁrms while measuring
                                    their performance, so you can select the best mix for your needs.
                                  • Analytics provides you with full visibility over workloads and legal data analytics to
                                    make informed, data-driven decisions.
                If you have questions or comments about the CounselLink Enterprise Legal Management
                Trends Report or want to learn more about CounselLink software and services, visit
                CounselLink.com, or contact us via email: LNCounselLink@LexisNexis.com.
                 For media inquiries, please contact: eric@plat4orm.com.




                 Follow us online:
                                                 Website: www.CounselLink.com

                                                 Twitter: @LexisNexisLegal
              Facebook “f” Logo     CMYK / .ai   Facebook “f” Logo   CMYK / .ai




                                                 Facebook: www.facebook.com/LexisNexisLegal

                                                 LinkedIn: LexisNexis Legal: www.linkedin.com/company/lexisnexislegal




25   2022 CounselLink Enterprise Legal Management | TRENDS REPORT
       Case 5:24-cv-02058-KK-SP                           Document 31-5 Filed 05/22/25   Page 27 of 27 Page ID
                                                                    #:364




CounselLink.com/Trends
LexisNexis and the Knowledge Burst logo are registered
trademarks of Reed Elsevier Properties Inc., used
under license. CounselLink is a registered trademark of
LexisNexis, a division of RELX Inc. Other products or
services may be trademarks or registered trademarks
of their respective companies. Copyright © 2022
LexisNexis. All rights reserved.
